 Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 1 of 12
                                                                                fo)~©~._DIY!l!r;?
Mo1·gan Lewis                                                                   ln} APK ?n 2018 W)
                                                                                           CHAMBERS OF
                                                                                          JUDGE MARRERO
Tera M. Heintz
Partner
+1.415.442.1334                                                               usoc st,., y                I·
tera.heintz@morganlewis.com
                                                                              DOCV~1L~T                   I
                                                                              ELECTRONICALLY Fll F
April 19, 2018                                                                DOC         ✓
                                                                                     #:---1/J, -r;-/2     :
                                                                              DATE FILED:_jl~
VIA FEDERAL EXPRESS

The Honorable Victor Marrero
United States District Court for the Southern District of New York
500 Pearl Street, Suite 1040
New York, NY 10007-1312

Re:       Royal Park Investments SAINVv. US. BankNat'l Ass'n, Case No. 1:14-cv-02590

Dear Judge Marrero:

On behalf of Defendant U.S. Bank National Association ("U.S. Bank"), we hereby submit this
notice of supplemental authority supporting U.S. Bank's opposition to Plaintiff Royal Park
Investments SA/NV's ("RPI") motion for class certification. See ECF No. 182.

On April 17, 2018, Judge Failla adopted on de novo review the report and recommendation of
Magistrate Judge Netburn denying RPI's motion for class certification in RPI's case against
Wells Fargo. See Royal Parkinvs. SAINVv. Wells Fargo Bank, NA., No. 14-cv-09764, 2018
WL 1831850 (S.D.N.Y. Apr. 17, 2018) ("Order"), attached hereto as Exhibit A. In so doing,
Judge Failla denied certification of a proposed class essentially identical to the class RPI seeks
to certify in this action. Compare ECF No. 150 with Order at *5-6. As noted by Judge Failla
in her Order, several courts in this District have now addressed class certification in cases like
this against trustees of residential mortgage-backed security ("RMBS") trusts, and "none has
found that a class action would be an appropriate vehicle for prosecuting such a case." Order at
* 1 (emphasis added).

 Like other judges in this District, Judge Failla determined that the predominance of numerous
 individualized issues, as well as RPI' s failure to show that class action litigation would be
 superior to other means of adjudication, compelled denial ofRPI's motion. Id. at* 6.

 While acknowledging the issue of the trustee's alleged breach as a "single common issue
 present in this case," Judge Failla went on to hold that a finding of breach would not be
 determinative of Wells Fargo's liability as to each class member (as RPI has also argued in this
 case). Even assuming breach, Wells Fargo's "liability to investors would depend upon a
 variety of factors that would be idiosyncratic to each putative class member," which, taken
 together, would "overwhelm any common issues." Id. at *12-13. Judge Failla, like Judge


                                               Morgan, Lewis &. Bockius        LLP

                                               One Market
                                               Spear Street Tower
                                               San Francisco, CA 94105-1596          G +1.415.442.1000
                                               United States                         G +1.415.442.1001
DBl/ 97170792.1
 Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 2 of 12


Hon. Victor Marrero
Page 2

Nathan before her, 1 found that individualized issues regarding Article III standing, statute of
limitations, and damages precluded class certification. Id. at* 13-21.

First, Judge Failla addressed the "tortuous standing analysis" required to assess whether each
putative class member possesses the litigation rights essential to establish Article III standing.
Id. at * 14. This difficulty results from the fact that, in most states, litigation rights do not
accompany the sale of the RMBS certificates, necessitating an individualized choice of law
analysis of each transfer of securities to determine whether litigation claims transferred along
with the transfer of beneficial ownership in the securities. In light of this requirement, and
inherent ambiguities in identifying the beneficial owners of the securities, Judge Failla affirmed
Judge Netburn's finding that identifying class members with Article III standing would require
individualized legal and factual determinations. Id. at* 17. Like Judge Nathan, Judge Failla
rejected RPI's attempt to analogize its claims against RMBS trustees to securities fraud actions
involving securities, noting that "[t]he law regarding class certification in the securities fraud
context does not graft cleanly onto the claims at issue." Id. at* 17.

Second, Judge Failla ruled that adjudication of the Trustee's statute oflimitations defense
would also require individualized assessments as to each class member. New York's
borrowing statute requires claims to be timely under New York law and the law of the
jurisdiction where the claim accrued. As such, Judge Failla found that "whether each irivestor
in the proposed class has a timely claim turns on where the claim accrued, when it accrued, and
the applicable statute of limitations in the relevant jurisdiction." Id. * 18.

Finally, Judge Failla affirmed Judge Netburn's fmding that damages presented still more
"individualized inquiries" which, "along with the individualized questions discussed above,
would dwarf the only common question identified in this case." Id at *21. Judge Failla noted
the admission of RPI' s expert F. Scott Dalyrmple (who offers a substantively identical opinion
in this case) that even RPI' s approach would require the Court "' ... to determirle how the
values of the different' - i.e., individual- '[c]ertificates were affected by losses to the common
mortgage loan collateral."' Id at 20. She found that the individualized nature of this irlquiry
weighed against certification, without even needing to explain the extreme complexity of the
damages analysis required for each investor (as explained in U.S. Bank's papers).

In addition to addressing these individualized issues, Judge Failla affirmed Judge Netbum's
fmding that a class action is not superior to other available means to adjudicate the controversy
between RPI and Wells Fargo. Judge Failla found that management of a class action involving
so many individualized issues "would be difficult, if not near impossible," and that the putative
class members are generally sophisticated investors who have a strong interest in controlling
the prosecution of their own actions. Id at *22.


 1
   U.S. Bank provided notice of Judge Nathan's ruling denying class certification in RPI's
 case against Deutsche Bank on April 12, 2018. See ECF No. 376. Judge Nathan also held
 that determination of causation would be individualized.




D81/ 97170792.1
  Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 3 of 12



Hon. Victor Marrero
Page 3

Judge Failla joins the uniform judgments of other judges in this District, including Judge
Nathan, Judge Schofield, Judge Netbum, and Judge Woods, that RPI's claims should not be
certified. As RPI has made the same arguments and submitted the same deficient evidence in
this case, which involves more than ten times the number of unique RMBS trusts as were at
issue in RPI's suit against Wells Fargo (see Id. at *3, n.2), this Court should similarly deny
RPI' s motion for class certification here.

Respectfully submitted,


Q~•H!.:•9
cc: Counsel of Record (via Federal Express)




        The Clerk of Court is directed to··enter into the public record
        oft is action the letter above submitted to the Court by


        SO ORDERED.




 D81/ 97170792.1
          Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 4 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850



                  2018 WL 1831850
   Only the W estlaw citation is currently available.                            BACKGROUND 1
    United States District Court, S.D. New York.
                                                                    The facts discussed in this Opinion are drawn from the
   ROYAL PARK INVESTMENTS SA/NV, Plaintiff,
                                                                    R&R (Dkt. #442), and from Royal Park's Amended
                           V.                                       Complaint ("Am. Comp!." (Dkt. #24)) and the
       WELLS FARGO BANK, N.A., Defendant.                           exhibits attached thereto. In addition, the Court refers
                                                                    to the parties' briefing on Royal Park's objections to
                  14 Civ. 9764 (KPF) (SN)                           the R&R as follows: Royal Park's Memorandum of
                             I                                      Law in Support oflts Rule 72 Objections and Motion
                     Filed 04/17/2018                               to Vacate the Magistrate Judge's Opinion and Order
                                                                    and Report and Recommendation as "Pl. Obj." (Dkt.
Opinion                                                             #455); Wells Fargo's Opposition to the Objections as
                                                                    "Def. Opp." (Dkt. #458); and Royal Park's Reply to
                                                                    Wells Fargo's Opposition as "Pl. Reply" (Dkt. #466).
       OPINION AND ORDER ADOPTING
       REPORT AND RECOMMENDATION
                                                              A. Factual Background
KATHERINE POLK FAILLA United States District                  Both this Court and Judge Netbum have previously
Judge                                                         offered lengthy recitations of the facts underlying this
                                                              action and several related actions. See BlackRock
 *1 KA THERINE POLK FAILLA, District Judge:                   Allocation Target Shares: Series S. Portfolio v. Wells
                                                              Fargo Bank, Nat'l Ass'n, 247 F. Supp. 3d 377, 383-88
Pending before the Court is the January 10, 2018 Report       (S.D.N.Y. 2017) ("BlackRock Series S"), objections
and Recommendation issued by Magistrate Judge Sarah           overruled sub nom. BlackRock Allocation Target Shares:
Netbum (the "R&R") recommending the denial of the             Series S Portfolio v. Wells Fargo Bank, Nat'! Ass'n, No.
motion for class certification brought by Plaintiff Royal     14 Civ. 10067 (KPF) (SN), 2017 WL 3610511 (S.D.N.Y.
Park Investments SA/NV ("Royal Park") in this action          Aug. 21, 2017); BlackRock Allocation Target Shares v.
against Defendant Wells Fargo Bank, N.A. ("Wells              Wells Fargo Bank, Nat'! Ass'n, No. 14 Civ. 9371 (KPF)
Fargo"). At the outset, the Court observes that class         (SN), 2017 WL 953550, at *2-3 (S.D.N.Y. Mar. 10, 2017),
certification in cases of this type, alleging breaches by     order clarified sub nom. BlackRock Allocation Target
the trustee of a residential mortgage-backed security         Shares: Series S Portfolio v. Wells Fargo Bank, Nat'!
("RMBS") trust, is not an issue of first impression in the    Ass'n, No. 14 Civ. 10067 (KPF) (SN), 2017 WL 3610511
Southern District of New York. Several other courts in        (S.D.N.Y. Aug. 21, 2017). This Opinion therefore focuses
the District have addressed the issue, and though their       on the facts necessary to resolve the instant objections to
reasoning has evolved along with more recent Second           theR&R.
Circuit decisions, none has found that a class action would
be an appropriate vehicle for prosecuting such a case. See
Royal Park lnvs. SAINVv. Deutsche Bank Nat'! Tr. Co.,           1. The RMBS Trusts
No. 14 Civ. 4394 (AJN), 2018 WL 1750595 (S.D.N.Y.              *2 This case involves two RMBS trusts for which
                                                                                                                               ?
Apr. 11, 2018); Royal Park Invs. SA/NV v. HSBC Bank           Wells Fargo serves as trustee. (See Am. Compl. ,r 1). -
 USA, N.A. ("HSBC'), No. 14 Civ. 8175 (LGS), 2018 WL          In May 2009, Royal Park acquired collateralized debt
679495 (S.D.N.Y. Feb. 1, 2018); Royal Park Invs. SA/NV        obligations ("CDOs") that included those two trusts,
v. Bank of N. Y Mellon, No. 14 Civ. 6502 (GHW), 2017          which acquisition entitled Royal Park to beneficial
WL 3835339 (S.D.N.Y. Aug. 30, 2017); Royal Park lnvs.         interests in RMBS certificates ("Certificates"). (R&R
SAINVv. Deutsche Bank Nat'! Tr. Co. ("Deutsche Bank"),        2). Thousands of mortgage loans contained in the
 No. 14 Civ. 4394 (AJN), 2017 WL 1331288 (S.D.N.Y.            trusts operate as collateral for the Certificates, and
Apr. 4, 2017). For the reasons that follow, the Court finds   certificateholders like Royal Park are entitled to the cash
 no reason to chart a new course here, and it therefore       flow from the loans. (Id.). Institutional entities known
 adopts the R&R in its entirety.


  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 5 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

as "Depositors" transferred the loans to the trusts after           the Seller of any representation or warranty" that is
acquiring the loans from "Sponsors" or "Sellers," which,            applicable to any "Mortgage Loan which materially
as their names suggest, either originated the loans or              adversely affects the value of such Mortgage Loan"; and
acquired the loans from originating lenders. (Id. at 2-3).          (ii) if "a Responsible Officer ha[d] actual knowledge" of
Although the CDOs were liquidated in February 2010,                 a "Servicer Event of Termination," 3 Wells Fargo was to
Royal Park asserts that it retains the litigation rights that       "exercise such of the rights and powers vested in it by
the initial purchasers of the CDOs had against Wells                [the PSA]" with "the same degree of care and skill in their
Fargo. (Id. at 2).                                                  exercise, as a prudent person would exercise or use under
                                                                    the circumstances in the conduct of such person's own
2      The RMBS trusts at issue are titled "ABFC 2006-              affairs." (R&R 3).
       OPTI" and "SASC2007-BC1." (Am. Comp!. ,r2). An
       RMBS trust operates as follows:                              3      A "Servicer Event of Termination" included failures
         To raise funds for new mortgages, a mortgage
                                                                           on the part of the loan servicer, such as a "failure by
         lender sells pools of mortgages into trusts created
                                                                           the Servicer to deposit in the Collection Account or
         to receive the stream of interest and principal
                                                                           remit to the Trustee for deposit in the Distribution
         payments from the mortgage borrowers. The right
                                                                           Account any payment required to be made under the
         to receive trust income is parceled into certificates
                                                                           terms of' the PSA. (Am. Comp!., Ex. A(§ 7.0l(a)(i)
         and sold to investors, called certificateholders. The
                                                                           (A) of the PSA for the ABFC 2006-OPTl Trust)).
         trustee hires a mortgage servicer to administer
         the mortgages by enforcing the mortgage terms
         and administering the payments. The terms of the
                                                                    B. Procedural Background
         securitization trusts as well as the rights, duties, and
                                                                       1. Royal Park's Claims Against Wells Fargo
         obligations of the trustee, seller, and servicer are set
                                                                    Royal Park alleges that Wells Fargo failed to satisfy the
         forth in a Pooling and Servicing Agreement[.]
       BlackRock Fin. Mgmt. Inc. v. Segregated Account of
                                                                    PSAs' requirements - thereby breaching both the PSAs
       Ambac Assur. Corp., 673 F.3d 169, 173 (2d Cir. 2012).        and Wells Fargo's common-law duty of trust to avoid
                                                                    conflicts of interest with trust beneficiaries - because
  2. The Trustee's Obligations                                      it discovered R&W breaches and Servicer Events of
Royal Park grounds its claims in the agreements                     Termination in the underlying trusts but "took 'virtually
that govern the responsibilities between and among                  no action to enforce Seller obligations to repurchase
Wells Fargo as trustee; the Depositors, Sponsors, and               defective loans and Servicer obligations to cure defaults
Sellers; and other interested parties. In particular,               and reimburse the Trusts for damages.' " BlackRock
Pooling and Servicing Agreements ("PSAs") contained                 Series S, 247 F. Supp. 3d at 387 (citation omitted).
Representations and Warranties ("R&Ws") requiring                   At present, only Royal Park's breach of contract and
the Sponsor, Seller, or other entity that originated                breach of trust claims remain, the Court having previously
or transferred one of the underlying loans to the                   dismissed claims under the Trust Indenture Act and the
trusts to "warrant the credit quality and characteristics"          Streit Act. See id. at 393-401. (See also Am. Comp!. fl
of those loans -          including, for example, "the               173-200). In pursuit of these remaining claims, Royal Park
borrower's employment status and the property's                     seeks to certify the following class:
appraisal value." (R&R 3). The PSAs required the
                                                                                  *3 All persons and entities who
warranting party "to cure, substitute[,] and/or repurchase
                                                                                 held Certificates in the Covered
any loans that fail[ed] to conform to the R&Ws." (Id.).
                                                                                 Trusts at any time between the date
                                                                                 of issuance to no later than 60 days
 Pursuant to the PSAs, Wells Fargo was responsible for
                                                                                 after notice of class certification and
 assuring compliance with the R&Ws. Specifically, and
                                                                                 opportunity to opt out is issued
 as relevant to Royal Park's claims, Wells Fargo had the
                                                                                 and were damaged as a result of
 duties (i) to "promptly notify the applicable Originator
                                                                                 Wells Fargo Bank, N.A.'s conduct
 or the Seller" upon discovering "any materially defective                       alleged in the Complaint. Excluded
 document in, or that a document is missing from, a                              from the Class are defendant, the
 Mortgage File or of the breach by the Originators or                            loan originators, the Warrantors,


    WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                      2
          Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 6 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff,           v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

                the Master Servicers and the                     Netburn. (See Declaration of Christopher Wood dated
                Servicers to the Covered Trusts, and             February 7, 2018 ("Wood Deel." (Dkt. #456)), Ex. A-
                their officers and directors, their              E, H-J). By letter dated March 23, 2018, Royal Park
                legal representatives, successors or             requested an evidentiary hearing on the matter. (Dkt.
                assigns, and any entity in which they            #467). The Court denied the request, noting, in relevant
                have or had a controlling interest.              part, that the materials in issue had not been presented to
                                                                 Judge Netburn and that no request had been made to her
(Pl. Obj. 3).                                                    for an evidentiary hearing. (Dkt. #470 (citing Frasier v.
                                                                 McNeil, No. 13 Civ. 8548 (PAE) (JCF),2015WL 1000047,
                                                                 at *2 (S.D.N.Y. Mar. 5, 2015); Grant v. Bradt, No. 10 Civ.
   2. TheR&R
                                                                 394 (RJS), 2012 WL 3764548, at *4 (S.D.N.Y. Aug. 30,
On January 10, 2018, Magistrate Judge Netburn issued
the R&R on Royal Park's class certification motion,              2012)). 5
recommending that the Court deny certification. (Dkt.
#442). Judge Netburn found that Royal Park had                   5      It remains the Court's view that considering new
established that membership in the putative class was                   evidence or new arguments in reviewing objections
ascertainable and that the class satisfied Federal Rule                 to a magistrate judge's ruling is "disfavored absent
of Civil Procedure 23(a)'s requirements of numerosity,                  a 'most compelling reason' for the failure to present
commonality, typicality, and adequate representation.                   such evidence or arguments in the first instance." In
(R&R 13-22). The certification motion failed, in Judge                  re Consol. RNC Cases, No. 127, 2009 WL 130178, at
                                                                        *IO (S.D.N.Y. Jan. 8, 2009) (quoting Haus. Works,
Netburn's view, because Royal Park did not satisfy
                                                                        Inc. v. Turner, 362 F. Supp. 2d 434, 438 (S.D.N.Y.
Rule 23(b)(3)'s requirements that common questions
                                                                        2005)). No such proffer was made in this case.
predominate over individual issues and that a class                     That said, even were the Court to consider this
action be superior to other methods of adjudication. (Id.               additional information - in particular, the materials
at 22-35). Judge Netburn also declined to recommend                     derived from third-party document productions -
certifying a class under Rule 23(c)(4) for the limited                  the deficiencies identified by Judge Netburn would
 purpose of determining liability, fmding that certifying               remain.
 a limited class would implicate the same problems as
 certifying a class to adjudicate the entirety of Royal Park's
                                                                                       DISCUSSION
claims. (Id. at 35-36). 4
                                                                  A. Review of a Magistrate Judge's Report and
4       Also accompanying the R&R was an Opinion and              Recommendation
        Order in which Judge Netburn denied Wells Fargo's          *4 When deciding whether to adopt a report and
        motion to exclude Royal Park's damages expert, who        recommendation, the district court "may accept, reject,
        submitted a report in support of class certification:     or modify, in whole or in part, the findings or
        (R&R 4-13). Wells Fargo did not file any objections       recommendations made by the magistrate judge." 28
        to the R&R, nor did it appeal from the denial of its
                                                                  U.S.C. § 636(b)(l)(C); see also Fed. R. Civ. P. 72(b)(3).
        motion to exclude.
                                                                  The Court conducts a de nova review of those portions of
On February 7, 2018, Royal Park filed objections                  a report and recommendation to which a party submits a
to the R&R, thereby challenging Judge Netburn's                   timely objection. See generally United States v. Romano,
recommendation that the putative class be denied for              794 F.3d 317,340 (2d Cir. 2015).
failure to satisfy the requirements of Rule 23(b)(3). (Dkt.
#453, 455-56). On March 8, 2018, Wells Fargo opposed              "To accept those portions of the report to which no
Royal Park's objections (Dkt. #464-65), and on March              timely objection has been made, 'a district court need only
21, 2018, Royal Park replied to Wells Fargo's opposition          satisfy itself that there is no clear error on the face of
(D kt. #466).                                                     the record.' "King v. Greiner, No. 02 Civ. 5810 (DLC),
                                                                  2009 WL 2001439, at *4 (S.D.N.Y. July 8, 2009) (quoting
 Along with its objections, Royal Park submitted to the           Wilds v. United Parcel Serv., Inc., 262 F. Supp. 2d 163,
 Court materials · that it had not submitted to Judge             169 (S.D.N.Y. 2003)), affd, 453 F. App'x 88 (2d Cir.



    WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                 3
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 7 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

2011) (summary order); accord Galeana v. Lemongrass
on Broadway Corp., 120 F. Supp. 3d 306, 310 (S.D.N.Y.
                                                                    a. Individual Issues Predominate Over Common Issues
2014). Indeed, a party's failure to object timely to        a
report and recommendation, after receiving clear notice of        *5     Rule 23(b )(3)'s predominance requirement "tests
the consequences of such a failure, operates as a waiver          whether proposed classes are sufficiently cohesive to
both of the party's right to object to the report and             warrant adjudication by representation.'' Windsor, 521
recommendation and of the right to challenge the report           U.S. at 623 (citing 7A Charles Alan Wright, Arthur
and recommendation on appeal. See Frank v. Johnson, 968           R. Miller, & Mary Kay Kane, FEDERAL PRACTICE
F.2d 298, 300 (2d Cir. 1992) ("We have adopted the rule           AND PROCEDURE 518-19). A putative class satisfies
that failure to object timely to a report waives any further      this requirement if (i) "resolution of any material 'legal or
judicial review of the report.").                                 factual questions ... can be achieved through generalized
                                                                  proof,' " and (ii) "these [common] issues are more
                                                                  substantial than the issues subject only to individualized
B. The Court Adopts the R&R's Recommendation to Deny
                                                                  proof.'' Petrobras, 862 F.3d at 270 (alterations in
Certification
                                                                  original) (quoting Mazzei v. The Money Store, 829
  1. Royal Park Fails to Satisfy Rule 23(b)(3)                    F.3d 260, 270 (2d Cir. 2016)). This analysis requires
Before certifying a putative class, a district court must         district courts to weigh the prevalence of individual issues
decide that it satisfies not only Rule 23(a)'s prerequisites      (i.e., those demanding evidence that varies among class
of numerosity, commonality, typicality, and adequacy of           members) against common issues (i.e., those "susceptible
representation, but also one of the three criteria of Rule        to generalized class-wide proof'). Id. (quoting Tyson
23(b). Marisol A. v. Giuliani, 126 F.3d 372, 375-76 (2d           Foods, Inc. v. Bouaphakeo, - U.S. -, 136 S. Ct. 1036,
Cir. 1997). Royal Park seeks certification under Rule 23(b)        1045 (2016)); see also In re LIBOR-Based Fin. Instruments
(3), which allows class certification where [i] "questions of      Antitrust Litig., No. 11 Civ. 5450 (NRB), 2018 WL
law or fact common to class members predominate over               1229761, at *5 (S.D.N.Y. Feb. 28, 2018) ("Ultimately,
any questions affecting only individual members," and [ii]         we ask 'whether issues susceptible to generalized proof
"a class action is superior to other available methods for         outweigh individual issues,' or put differently, whether
fairly and efficiently adjudicating the controversy." Fed.         'common issues are more substantial than individual
R. Civ. P. 23(b)(3).                                               ones.' " (internal citations omitted)).


The Supreme Court has described Rule 23(b)(3) "as an              That said, "[i]ndividual questions need not be absent"
'adventuresome innovation,' ... designed for situations 'in       in order for a court to certify a class under Rule 23(b)
which class-action treatment is not as clearly called for.' "     (3); the "rule requires only that those questions not
Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013) (quoting         predominate over the common questions affecting the
 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011)).       class as a whole." Sykes v. Mel S. Harris & Assocs.
Class certification pursuant to Rule 23(b )(3) is justified       LLC, 780 F.3d 70, 81 (2d Cir. 2015) (quoting Messner v.
where it "would achieve economies of time, effort, and            Northshore Univ. HealthSystem, 669 F.3d 802, 815 (7th
expense, and promote ... uniformity of decision as to             Cir. 2012)). Although a court may certify a class even
persons similarly situated, without sacrificing procedural        where issues such as damages or individual defenses might
fairness or bringing about other undesirable results."            not be amenable to generalized proof, "such individual
Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 615 (1997)           issues are 'factor[s] that [a court] must consider in deciding
(ellipsis in original). Conversely, a court should deny           whether issues susceptible to generalized proof outweigh
certification "[w]here individualized questions permeate          individual issues[.]" Johnson v. Nextel Commc'ns Inc., 780
the litigation," in which case "those 'fatal dissimilarit[ies]'   F.3d 128, 138 (2d Cir. 2015) (first alteration in original)
 among putative class members 'make use of the class-             (quoting McLaughlin v. Am. Tobacco Co., 522 F.3d 215,
 action device inefficient or unfair.' " In re Petrobras Sec.,     231 (2d Cir. 2008), abrogated on other grounds by Bridge
 862 F.3d 250, 270 (2d Cir. 2017) (second alteration in            v. Phx. Bond & Indem. Co., 553 U.S. 639 (2008)).
 original) (quoting Amgen Inc. v. Conn. Ret. Plans & Tr.
                                                                   The R&R identifies three individual issues that would
 Funds, 568 U.S. 455, 470 (2013)).
                                                                   predominate over any common issues in the litigation:



  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                 4
          Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 8 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

(i) whether each putative class member has standing to          over any issues common to the putative class members,
bring claims against Wells Fargo for common breaches of         taken together, they overwhelm any common issues. See
the trusts' governing agreements; (ii) whether applicable       Johnson, 780 F.3d at 138.
statutes of limitations render the putative class members'
claims untimely; and (iii) whether damages would be
calculable on a class-wide basis. (See R&R 22-31). These
                                                                            ii. The Individual Issue of Standing
issues are discussed below, after first discussing the single
common issue present in this case.                              Under Article III of the United States Constitution, a
                                                                federal court may only entertain suits in which the plaintiff
                                                                has standing, i.e., (i) an "injury in fact" that is "concrete
              i. The Common Issue of Breach                     and particularized," (ii) "a causal connection between
                                                                the injury and the conduct complained of," and (iii) a
As Judge Netburn recognized in her assessment of                likelihood "that the injury will be redressed by a favorable
Rule 23(a)'s commonality requirement, "questions of             decision." Lujan v. Defenders of Wildlife, 504 U.S. 555,
whether Wells Fargo breached certain provisions of              560-61 (1992) (internal citations and quotation marks
the underlying agreements are common ones material              omitted). In the class action context, each class member
to the resolution of this litigation." (R&R 19). To             need not "submit evidence of personal standing," but a
prevail, Royal Park would have to prove breach "on              court may not certify a class "that contains 'members
a 'loan-by-loan and trust-by-trust basis.' " Deutsche           lacking Article III standing." Denney v. Deutsche Bank
Bank, 2016 WL 439020, at *6 (quoting Ret. Bd. of                AG, 443 F.3d 253, 263-64 (2d Cir. 2006). "Put differently,
the Policemen's Annuity & Benefit Fund of the City              'Article Ill's jurisdictional requirements [apply] to each
of Chi. v. Bank of N. Y Mellon, 775 F.3d 154, 162               memberofaclass." Calvov. City ofNew York, No.14 Civ.
(2d Cir. 2014)). And Wells Fargo may well be correct             7246 (VEC), 2017 WL 4231431, at *3 (S.D.N.Y. Sept. 21,
that "[t]he trusts have materially different waterfalls and     2017) (alteration in original) (quoting In re Literary Works
contract terms, imposing different duties and prioritizing       in Elec. Databases Copyright Litig., 509 F.3d 116, 126 (2d
payments to different holders in different circumstances         Cir. 2007)). A "class must therefore be defined in such a
over time." (Def. Opp. 18). These differences - though no       way that anyone within it would have standing." Denney,
doubt relevant to the predominance inquiry, as discussed        443 F.3d at 264.
below - would impact when a given claim accrued and
the amount of damages to which an individual plaintiff          The difficulty in determining standing for members of
would be entitled. They would not, however, impact              the class here is a consequence of the chain of beneficial
a determination of whether Wells Fargo breached the             ownership of the trust certificates. "[T]he [c]ertificates
 relevant agreements or, for that matter, whether Wells         do not have unique identifiers, they are actively traded
Fargo breached its common-law duty of trust. Cf Bank            on the secondary market without a central clearinghouse
 of N. Y Mellon, 775 F.3d at 162 (denying class standing        to record trades, and many [c]ertificate holders are not
for plaintiffs bringing breach of contract and breach of        the actual beneficiaries.'' (R&R 24). As the R&R notes,
 fiduciary duty claims on behalf of investors in trusts in      in most states, "assignors must manifest an intent to
 which plaintiffs did not invest).                              transfer litigation rights," while New York law applies a
                                                                minority rule under which litigation rights automatically
 *6 But even if Wells Fargo committed such breaches,            accompany the sale of a certificate. (Id. at 28 (citing
its liability to investors would depend on a variety of         Deutsche Bank, 2017 WL 1331288, at *7; Racepoint
factors that would be idiosyncratic to each putative            Partners, LLC v. JP Morgan Chase Bank, No. 06 Civ.
class member. These factors include the identity of the         2500 (MOC), 2006 WL 3044416, at *4 (S.D.N.Y. Oct.
beneficial owners of trust certificates, the timing of an       26, 2006)). See also HSBC, 2018 WL 679495, at *3 ("The
investor's acquisition of a trust certificate, jurisdictional   fact that Plaintiffs currently hold the certificates does not
differences in the body of law applicable to an investor's       establish their standing as to losses incurred by previous
claim, and the amount of damages attributable to such            certificateholders.").
 claim. As detailed in the remainder of this section,
 although these issues individually might not predominate


  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                              5
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 9 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

In light of these ambiguities in ownership and variations      of the relevant jurisdiction, that determination would still
in applicable law, multiple courts in this District have       require an individualized inquiry for each investor.
acknowledged the tortuous standing analysis for a
putative class member in an RMBS trust action:                 Royal Park separately argues that this analytical hurdle
                                                               need not foreclose certification, as "courts routinely reject
           First, the Court would have                         the notion that the standing of absent class members is
           to apply New York's fact-                           sufficient to defeat predominance[.]" (Pl. Obj. 9). But the
           intensive "center of gravity" choice-               portions of the cases on which Royal Park relies for this
           of-law framework to determine                       proposition only highlight the importance of determining
           which jurisdiction's law governs                    certificate ownership, individually, for the purpose of
           a particular assignment. Under                      standing; the cited excerpts deal with difficulties in
           this approach, courts consider                      determining whether an individual class member may
           five factors in determining which                   prevail on the merits or be entitled to damages, and
           jurisdiction has the "most significant              do not address Article III'sjurisdictional requirements.
           relationship" to a contract dispute:                See Briseno v. ConAgra Foods, Inc., 844 F .3d 1121,
           [i] the place of contracting, [ii] the              1131 (9th Cir. 2017) ("Rule 23 specifically contemplates
           place of negotiation, [iii] the place               the need for ... individualized claim determinations after
           of performance, [iv] the location                   a finding of liability." (emphasis added)); Freeland v.
           of the subject matter and [v]                       Iridium World Commc'ns, 233 F.R.D. 40, 46 (D.D.C.
           the domicile or place of business                   2006) ("[A]ny difficulty by individual class members in
            of the contracting parties. For                    tracing their particular aftermarket-purchased shares to
           each . .. class member[ ], this                     the Registration Statement is a secondary issue to be
            analysis would be necessary for                    resolved after the predominant issue of [the defendant's]
            each transfer in the chain from                    liability has been decided." (emphasis added)). Although
            the original certificateholder to the              the Court need not necessarily address standing before
            potential class member. Second, the                class certification, see Winfield v. Citibank, NA., 842 F.
            Court would have to apply the                       Supp. 2d 560,574 (S.D.N.Y. 2012), such analysis here will
            law relevant to each transaction                    be ridden with complex, individualized determinations.
            to determine whether claims were
            assigned with the transfer of                      As the R&R points out, identifying certificateholders
            certificates or retained by the seller.            is unlikely without the record of each transfer, as the
            A certificateholder has standing to                certificates are only identifiable by a CUSIP number
            sue only if every prior transaction                that is common to all other holdings in a given tranche
            in the chain included an assignment                within a trust. (R&R 25). Royal Park contends that
            of the right to sue along with the                 courts commonly certify classes in securities fraud cases
            underlying certificate.                            involving a single CUSIP number. (Pl. Obj. 10). But
                                                               for the purpose of determining standing, courts have
 *7 HSBC, 2018 WL 679495, at *4; see also Deutsche
                                                               expressly distinguished securities fraud actions from
Bank, 2017 WL 1331288, at *7 ("[I]dentifying class
                                                               RMBS trust actions, finding that claims in the latter
members with contract claims in the face of active
                                                               category require individualized inquiries not implicated
aftermarket trading across multiple domestic and
                                                               in the former category. See Bank of N. Y Mellon, 775
international jurisdictions is likely to require a two-part
                                                               F. 3d at 161-63 (affirming dismissal based on lack of class
inquiry."). In its objection, Royal Park takes issue with
                                                                standing where plaintiffs brought, inter alia, breach of
the second step in this analysis - determining whether
                                                                contract and fiduciary duty claims related to RMBS trusts
litigation rights accompanied the transfer of a certificate
                                                                in which they did not invest); Deutsche Bank, 2017 WL
- by arguing that the record contains no evidence that
                                                                1331288, at *6 (contrasting "straightforward" analysis of
such may be the case for any of the investors here. (See Pl.
                                                                standing for Securities Act claims with more involved
Obj. 13). But even if it turns out that all of the investors
                                                                analysis for "investors who assigned or acquired [trust
within Royal Park's proposed class have retained the
                                                                certificates] via the secondary market"). The law regarding
litigation rights linked to their certificates under the law


  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                             6
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 10 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

class certification in the securities fraud context thus does   and the applicable statute of limitations in the relevant
not graft cleanly onto the claims at issue.                     jurisdiction. (See R&R 30). Royal Park's expert opined
                                                                that the investors in the trusts at issue are from at
Royal Park also submits that it can identify beneficial         least six states aside from New York, as well as foreign
owners of the trust certificates through records that           jurisdictions. (Id.).
Royal Park obtained by subpoenaing the Depository
Trust Company ("DTC"), which "legally own[s]" the               Royal Park argues that "Wells Fargo has never
certificates "in 'Book-Entry' form." (Dkt. #448 at 22           established that it has a meritorious statute of limitations
(Memorandum of Law in Support of Class Certification);          defense against Royal Park or any class member,
see PI. Obj. 12)). Although the R&R notes that these            rendering any purported defense speculative." (Pl. Obj.
records "only list participant institutions, not the actual     15). Yet that merely begs the question, as determining
beneficial owner," (R&R 26 (internal quotation marks            whether Wells Fargo did have such a defense would
and citation omitted)), Royal Park contends that this           require the very analysis outlined above. And although
"ignores" that Royal Park subpoenaed such participants,         Royal Park is correct that individual inquiries involved
which have "provided trading records identifying many           in affirmative defenses, standing alone, might not
of the beneficial owners of the certificates," (Pl. Obj.        predominate over common issues, "such individual issues
12 (emphasis added)). Royal Park has not shown,                 are 'factor[s] that [a court] must consider in deciding
however, that it will be able to determine all of the           whether issues susceptible to generalized proof outweigh
beneficial owners - nor, more importantly, that these           individual issues[.]" Johnson, 780 F.3d at 138 (first
documents reveal the chain of ownership necessary to            alteration in original) (emphasis added). Royal Park's
determine whether a given certificateholder owns the            objection to this point falls flat.
litigation rights associated with their certificates. And the
further discovery required to ascertain such information
only underscores the individualized inquiries required to
                                                                            iv. The Individual Issue of Damages
determine which investors have standing to bring the
claims alleged. Unsurprisingly, Royal Park's own expert         An additional factor Judge Netburn considered was the
conceded that, based on the documentation currently             analysis necessary to distribute any damages among
available to Royal Park, constructing a coherent chain of       investors. On this point, the R&R found that because
 ownership or list of beneficial owners may be impossible.      "[i]nvestors bought and sold different tranches of the
 (R&R 27 (quoting Dkt. #360-17, at ,r 54)).                     [c]ertificates at different times," the damages to which
                                                                each investor would be entitled would vary. (R&R
                                                                30-31). Royal Park takes issue with this, arguing that
      iii. The Individual Issue of Limitations Periods          it "conclusively established that damages are calculable
                                                                on a class-wide basis." (Pl. Obj. 16). The expert report
 *8 Because statutes of limitations differ among                to which Royal Park cites to support this proposition
jurisdictions, the R&R found that Wells Fargo's                 provides that "the primary step to computing damages
"affirmative statute of limitations defense will vary from      is assessing the impact of [Wells Fargo]'s alleged actions
class member to class member, requiring the Court to            and inactions on the mortgage loans underlying each
make individualized determinations." (R&R 29). Under            [trust]." (Dkt. #360-6, ,r 50). Yet the report admits that "to
New York's "borrowing statute," N.Y. C.P.L.R. 202,              apportion damages among" the investors, "it is necessary
"[w]hen a nonresident sues on a cause of action accruing        to understand each [trust's] deal structure to determine
outside New York," the claim must "be timely under the          how the values of the different" - i.e., individual -
limitations period of both New York and the jurisdiction        "[c]ertificates were affected by losses to the common
 where the cause of action accrued." Luv N' Care, Ltd.          mortgage loan collateral." (Id. at ,r 54). Thus, although
 v. Goldberg Cohen, LLP, 703 F. App'x 26, 28 (2d Cir.            aggregate damages may be calculable on a class-wide
 2017) (summary order) (quoting Global Fin. Corp. v.             basis, dividing those damages among investors would
 Triarc Corp., 93 N.Y.2d 525, 528 (1999)). Thus, whether         require the sort of individual inquiries that the Court has
 each investor in the proposed class has a timely claim          discretion to take into account within the predominance
 turns on where the claim accrued, when it accrued,              analysis. See, e.g., Jacob v. Duane Reade, Inc., 602 F.



  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                              7
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 11 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

App'x 3, 7 (2d Cir. 2015) (summary order) (affirming             separate actions"; "the extent and nature of any litigation
class decertification as to damages, but not liability, where    concerning the controversy already begun by or against
individualized nature of damages inquiry would defeat            class members"; "the desirability or undesirability of
predominance); Breitman v. Xerox Educ. Servs., LLC, No.          concentrating the litigation of the claims in the particular
12 Civ. 6583 (PAC), 2014 WL 5364103, at *5 (S.D.N.Y.             forum"; and "the likely difficulties in managing a class
Oct. 22, 2014) (denying certification under Rule 23(b)           action." Fed. R. Civ. P. 23(b)(3)(A)-(D). Structurally,
(3) where, inter alia, class members' damages "would             these factors "seem to apply both to the predominance and
necessitate individualized inquiries").                          superiority inquiry," but "they more clearly implicate the
                                                                 superiority inquiry." Sykes, 780 F.3d at 82. The factors
Royal Park argues that "[i]t is black-letter law that            encourage courts to "consider the interests of individual
differences in class member damages never bar class              members of the class in controlling their own litigations
certification." (PL Obj. 16 (emphasis in original)). The         and carrying them on as they see fit." Windsor, 521 U.S. at
case on which Royal Park relies for this proposition,            616 (quoting Fed. R. Civ. P. 23(b)(3) advisory committee's
Roach v. T.L. Cannon Crop., 778 F.3d 401 (2d Cir.                note to 1966 amendment).
2015), however, did not paint with so broad a brush:
Although Roach held that "individualized damages                 The R&R found that a class action would not be superior
determinations alone cannot preclude certification under         for two principal reasons: (i) given "the individualized
Rule 23(6)(3)," it recognized "that damages questions            nature of claims in this case[,] ... management of the
should be considered at the certification stage when             litigation would be difficult, if not near impossible," and
weighing predominance issues[.]" Id. at 408-09 (emphasis         (ii) the proposed class members, as investors in RMBS
added). Thus, as with affirmative defenses, individualized       trusts, are generally "highly sophisticated, knowledgeable
damages inquiries remain a factor that a court may               financial institutions or wealthy private investors" who
consider in undertaking the predominance analysis. See           "would have a strong interest in individually controlling
id. at 405; see also Hart v. Rick's Cabaret Int'!, Inc.,         the prosecution of their own actions." (R&R 33-34
60 F. Supp. 3d 447, 472 (S.D.N.Y. 2014) (A court may             (citation omitted)). These considerations do indeed
certify a class "under Rule 23(b )(3) where liability could be   weigh against certification, see Fed. R. Civ. P. 23(b)
determined classwide and either [i] damages were capable         (3)(A), (D), and the Court therefore adopts the R&R's
of class-wide determination, or [ii] individual damage           recommendation on this issue, despite several objections
calculations are simple and mechanical[.]"). And here, the       raised by Royal Park that are discussed below.
individualized inquiries necessary to distribute damages
among investors, along with the individualized questions         First, on the issue of manageability, Royal Park's
discussed above, would dwarf the only common question            objection is substantially derivative of its arguments
identified in this case.                                         on predominance. (See PL Obj. 19-20). Indeed, Royal
                                                                 Park all but concedes that if the Court were not to
                                                                 find predominance, it would not find that the case
                                                                 would be manageable as a class action, by stating,
          b. The Proposed Oass Action Would
                                                                 "[a]s predominance goes, so goes manageability." (Id.
           Not Be Superior to Other Available
                                                                 at 19). And Royal Park is correct - given the
         Methods for Adjudicating the Controversy
                                                                 individualized inquiries described above that certification
 *9 In addition to predominance, Rule 23(6)(3) requires          would necessitate, the Court and the litigants would face
a movant to show "that a class action is superior to other       great hurdles in managing this litigation and bringing it to
available methods for fairly and efficiently adjudicating        resolution in any reasonable period of time.
the controversy." Fed. R. Civ. P. 23(6)(3). Rule 23(b)
(3) provides a " 'nonexhaustive' and nonexclusive" list of       Second, as to the notion that the class would consist
factors that a court may consider when deciding whether          of sophisticated plaintiffs with an interest in pursuing
to certify a class. In re LIBOR-Based Fin. Instruments           their own claims, Royal Park argues that DTC trading
Antitrust Litig., 2018 WL 1229761, at *6. Those factors          records "show dozens of transactions in the two
consist of the following: "the class members' interests          [trusts] for less than $1 million each," rendering
in individually controlling the prosecution or defense of        "uneconomical" individual suits by "investors with such



  WESTLAW © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                              8
         Case 1:14-cv-02590-VM-RWL Document 377 Filed 04/20/18 Page 12 of 12
ROYAL PARK INVESTMENTS SA/NV, Plaintiff, v. WELLS FARGO ... , Slip Copy (2018)
2018 WL 1831850

                                                                   basis, such proof alone would not establish Wells Fargo's
small investments[.]" (Pl. Obj. 21). To be sure, the
                                                                   liability.
Advisory Committee designed Rule 23(b)(3) to allow
claims to proceed to court where individual plaintiffs
                                                                   Indeed, among other questions bearing on Wells Fargo's
might otherwise lack the economic incentive to file their
                                                                   ultimate liability, the preliminary issue of standing would
own complaints. See Windsor, 521 U.S. at 617. But that is
                                                                   remain, as would Wells Fargo's affirmative defenses;
generally the case where individual plaintiffs stand to gain
                                                                   as discussed above, both of these questions require
only meager payouts, a far cry from the financial position
                                                                   individualized inquiries. And although "a court may
of the prospective class members here. See, e.g., Kottler
                                                                   properly employ [Rule 23(c)(4)] to separate the issue of
v. Deutsche Bank AG, No. 08 Civ. 7773 (PAC), 2010
                                                                   liability from damages," this is only so "when it is the
WL 1221809, at *5 (S.D.N.Y. Mar. 29, 2010) (denying
                                                                   'only' way that a litigation retains its class character,
class certification where "[c]lass members [were] high net-
                                                                   i.e., when common questions predominate only as to the
worth investors with large claims, capable of litigating
                                                                   'particular issues' of which the provision speaks." In re
individually"); cf In re Holocaust Victim Assets Litig.,
                                                                   Nassau Cty. Strip Search Cases, 461 F.3d 219,226 (2d Cir.
302 F. Supp. 2d 89, 96 (E.D.N.Y. 2004) (noting as "not
                                                                   2006). For the reasons discussed above, individualized
uncommon" awards in class actions "where members of
                                                                   issues would continue to permeate the issue of liability,
the class get pennies or coupons, the cumulative total of
                                                                   and the Court therefore declines to certify a class to
which is used to justify awarding millions of dollars in legal
                                                                   determine that limited issue.
fees"), affd, 424 F.3d 132 (2d Cir. 2005).

In short, for many of the same reasons that individual
issues would predominate over common issues, a class                                       CONCLUSION
action would not be a superior method of resolving the
claims at issue here.                                               Given the foregoing, Royal Park's objections to the R&R
                                                                    are OVERRULED and its motion for class certification
                                                                    is DENIED. The Clerk of Court is directed to terminate
   2. The Court Will Not Certify a Liability-Only Class             the motion appearing at docket entry 453. The parties are
 *10 Federal Rule of Civil Procedure 23(c)(4) provides              directed to submit a joint letter within 30 days of the date
that "[w]hen appropriate, an action may be brought or               of this Opinion advising the Court as to how they wish to
maintained as a class action with respect to particular             proceed; whether the stay in this action should remain in
issues." In the alternative to certifying a class for all           effect; and, in light of this Opinion, whether Royal Park
purposes, Royal Park seeks certification of a class for             will continue to pursue its remaining objections to Judge
the limited purpose of deciding Wells Fargo's liability, as         Netbum's orders. (See Dkt. #441).
Royal Park contends that the "R&R correctly concluded"
that the issue is "common to the class." (Pl. Obj. 23). Yet          SO ORDERED.
that is not what the Judge Netbum concluded and the
Court has not adopted such a view; although the issue
of Wells Fargo's breach of the R&Ws or of its duty of                All Citations
trust may be subject to generalized proof on a class-wide
                                                                     Slip Copy, 2018 WL 1831850


  End of Document                                                © 2018 Thomson Reuters. No claim to original U.S. Government Works.




   WESTLAW       © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                               9
